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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

United States of America,

     V.                                   Case No. 2:22-cr-68

Eskender Getachew,                        Judge Michael H. Watson

           Defendant.




                              VERDICT FORMS
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

United States of America,


      V.                                     Case No. 2:22-cr-68

Eskender Getachew,                           Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 1: COUNT 1
Count 1 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substance to patient D.M. on or about June
20, 2018: Buprenorphine/Naloxone.

As to Count 1 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                 (circle only one)

                    GUILTY           -or-            NOT GUILTY

Signed:

                                                 ^ -^/ <^^
(Foreperson)                                (Date)




Case No. 2:22-cr-68                                                   Page 2 of 16
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                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 2: COUNT 2
Count 2 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substance to patient D. M. on or about August
28, 2018: Buprenorphine/Naloxone.

As to Count 2 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew

                                  (circle only one)

                    GUILTY            -or-             NOT GUILTY

Signed:

                                                         ^ ^
(Foreperson)                                  (Date)




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                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 3: COUNT 3
Count 3 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substance to patient R. C. on or about October
13, 2017: Buprenorphine.

As to Count 3 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew

                                  (circle only one)

                   GUILTY             -or-            NOT GUILTY

Signed:

                                                Iff2-( i 3
(Foreperson)                                 (Date)




Case No. 2:22-cr-68                                                    Page 4 of 16
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 4: COUNT 4

Count 4 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substance to patient R. C. on or about June
20, 2018: Buprenorphine.

As to Count 4 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew

                                  (circle only one)

                    GUILTY            -or-             NOT GUILTY

Signed:

                                                  ^ 2. ] Z-3
(Foreperson)                                  (Date)




Case No. 2:22-cr-68                                                    Page 5 of 16
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                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 5: COUNT 5
Count 5 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substance to patient R. C. on or about June
20, 2018: Clonazepam.

As to Count 5 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                   GUILTY             -or-            NOT GUILTY

Signed:

                                                           2-3
(Foreperson)                                  (Date)




Case No. 2:22-cr-68                                                    Page 6 of 16
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                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 6: COUNT 6
Count 6 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substance to patient T. C. on or about May 8,
2018: Buprenorphine.

As to Count 6 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                    GUILTY            -or-            NOT GUILTY

Signed:

                                                      ^ I^1^3
(Foreperson)                                 (Date)




Case No. 2:22-cr-68                                                    Page 7 of 16
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 7: COUNT 7
Count 7 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substance to patient T. C. on or about May 8,
2018: Clonazepam.

As to Count 7 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                    GUILTY            -or-            NOT GUILFf

Signed:

                                                  ^ 2. 2- 1^2
(Foreperson)                                 (Date




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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                          VERDICT FORM NO. 8: COUNT 8

Count 8 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient T. C. on or about June
5, 2018: Buprenorphine.

As to Count 8 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                    GUILTY            -or-             NOT GUILTY

Signed:

                                                  ^ i^ Z^
(Foreperson)                                  (Date)




Case No. 2:22-cr-68                                                    Page 9 of 16
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                        VERDICT FORM NO. 9: COUNT 9
Count 9 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient K. F. on or about
October 9, 2017: Buprenorphine.

As to Count 9 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew

                                  (circle only one)

                    GUILTY            -or-             NOT GUILTY

Signed:
                                                Ifi ^^ ^
(Foreperson)                                  (Date)




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                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                       VERDICT FORM NO. 10: COUNT 10
Count 10 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient K. F. on or about
October 9, 2017: Clonazepam.

As to Count 10 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                   GUILTY              -or-           NOT GUILTY

Signed:

                                                 ^ 2/2//2/3
(Foreperson)                                  (Date)




Case No. 2:22-cr-68                                                   Page 11 of 16
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                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                       VERDICT FORM NO. 11: COUNT 11
Count 11 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient K. F. on or about
December 7, 2017: Buprenorphine.

As to Count 11 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                    GUILTY            -or-             NOT GUILTY

Signed:

                                                  ^ 2. Z. 2/J
(Foreperson)                                  (Date)




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                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                       VERDICT FORM NO. 12: COUNT 12

Count 12 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient K. D. on or about
September 7, 2018: Buprenorphine.

As to Count 12 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                    GUILTY            -or-            NOT GUILTY

Signed:

                                                       ^ ^^z
(Foreperson)                                  (Date)




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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                      VERDICT FORM NO. 13: COUNT 13
Count 13 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient K. D. on or about
September 7, 2018: Dextroamphetamine-amphetamine.

As to Count 13 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew

                                 (circle only o

                   GUILTY            -or-          NOT GUILTY

Signed:
                                                      ^ ^y/^3
(Foreperson)                                 (Date)




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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                       VERDICT FORM NO. 14: COUNT 14

Count 14 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient K. D. on or about
Novembers, 2018: Buprenorphine.

As to Count 14 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew:

                                  (circle only one)

                    GUILTY            -or-             NOT GUILP^

Signed:
                                                 ^ 2. Z ^^
(Foreperson)                                  (Date)




Case No. 2:22-cr-68                                                   Page 15 of 16
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

United States of America,


      V.                                      Case No. 2:22-cr-68

Eskender Getachew,                            Judge Michael H. Watson

               Defendant.



                       VERDICT FORM NO. 15: COUNT 15

Count 15 of the Indictment accuses the defendant of unlawfully dispensing or
distributing the following controlled substances to patient K. D. on or about
November 6, 2018: Dextroamphetamine-amphetamine.

As to Count 15 in the Indictment, we the jury do unanimously find the defendant,
Eskender Getachew

                                  (circle only one

                    GUILTY            -or-            NOT GUILTY

Signed:

                                                 ^        ^-3
(Foreperson)                                 (Date)




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